 Case 2:22-cv-11781-PDB-EAS ECF No. 1, PageID.1 Filed 08/02/22 Page 1 of 25




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 NIA TIANNE REESE,                            Case No. 2022-cv-
                                              Hon.
                  Plaintiff,
 -vs-
                                              Oakland County Circuit Court
 GERALD FELTS, and                            Case No. 2022-194922-NI
 SERVICE ELECTRIC COMPANY,                    Hon. Yasmine I. Poles

           Defendants.
_________________________________/

                               NOTICE OF REMOVAL

TO: Clerk of the Court
    United States District Court
    Eastern District of Michigan

        PLEASE TAKE NOTICE that Defendants GERALD FELTS (“Defendant

Felts”) and SERVICE ELECTRIC COMPANY (“Defendant Service Electric”)

(collectively “Defendants”) by and through their attorneys, file their Notice of

Removal for removal of this civil action from the Circuit Court of Oakland County,

Michigan, to the United States District Court for the Eastern District of Michigan on

the grounds of diversity of citizenship jurisdiction pursuant to 28 U.S.C. § 1332 as

well as 28 U.S.C. §§ 1441 and 1446, and shows this Court as follows:




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                                INTRODUCTION

      1.     On or about July 1, 2022, Plaintiff Nia Tiana Reese (“Plaintiff”) filed

and commenced an action in the Oakland County Circuit Court, bearing Docket No.

2022-194922-NI (the “Action”), against Defendant Felts. Copies of the Initial

Summons and Complaint are attached hereto as Exhibit 1.

      2.     Thereafter on July 15, 2022, Plaintiff filed a First Amended Complaint

to include Defendant Service Electric into the Action. See Id.

      3.     This Action is a civil action wherein Plaintiff pleads damages for

personal injuries as a result of Defendants’ alleged negligent conduct in connection

with an accident that occurred on July 29, 2021. See Id.

      4.     Defendants were served with a copy of the amended pleading on July

22, 2022.

                    DIVERSITY OF CITIZENSHIP EXISTS

      5.     When diversity jurisdiction exists, a defendant may remove an action

from state court to federal court by filing a notice of removal. However, federal

courts are of limited jurisdiction. Bender v. Williamsport Area School Dist., 475 U.S.

534, 541 (1986).

      6.     This Action is a civil action, of which the United States District Courts

have original jurisdiction pursuant to 28 U.S.C. §1332 and is one which may be

removed to this court by Defendants pursuant to 28 U.S.C. §1441(b), in that this is


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a civil action or proceeding between citizens of different states.

       7.     Plaintiff is a citizen of Oakland County in the State of Michigan.

       8.     Defendant Felts is a citizen of Dickson County in the State of

Tennessee.

       9.     Defendant Electric Service is a corporation formed under the laws of

Delaware, with its principal place of business in Chattanooga, Tennessee, and

therefore a citizen of both Delaware and Tennessee.

       10.    There is complete diversity of citizenship between Plaintiff and both

Defendants, neither Defendant being a citizen of the same state as Plaintiff, and the

requisite amount in controversy exceeds the amount set forth in the diversity

jurisdiction statute.

        THE AMOUNT IN CONTROVERSY HAS BEEN SATISFIED

       11.    28 U.S.C. § 1446(c)(2)(a) permits the Notice of Removal to assert the

amount in controversy if the initial pleading seeks “(i) non-monetary relief; or (ii) a

money judgment, but the state practice either does not permit the demand for a

specific sum or permits recovery of damages in excess of the amount demanded; and

(B) removal of the action is proper on the basis of an amount in controversy asserted

under subparagraph (A) if the district court finds, by the preponderance of the

evidence, that the amount in controversy exceeds the amount specified in [28 U.S.C.

§ 1332(a)].” Under Michigan Court Rule 2.601(A) “[e]xcept as provided in subrule


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(B) [judgment by default], every final judgment may grant the relief to which the

party in whose favor it is rendered is entitled, even if the party has not demanded

that relief in his or her pleadings.” Mich. Ct. R. 2.601(A). Accordingly, Michigan

law “permits recovery of damages in excess of the amount demanded.” See Stafford-

Smith, Inc. v. Schut, 2012 WL 13028665, at *1 (W.D. Mich. Sept. 24, 2012) (citing

28 U.S.C. § 1446(c)(2)(A)(ii) and (B)) (attached as Exhibit C).

      12.    In the present case, Plaintiff’s Amended Complaint seeks to recover

money damages as a result of severe and potentially permanent injuries sustained by

Plaintiff, which allegedly include a closed-head injury, neck injuries and pain, back

injuries and pain, abdomen injuries and pain, spin injuries, chest injuries and pain,

left shoulder injuries and pain, left arm injuries and pain, left elbow injuries and pain,

left wrist injuries and pain, left hand and finger injuries and pain, post-traumatic

stress disorder, sleep disorder, among other allegations. See Plaintiff’s Amended

Complaint, ¶19. The Complaint states that the amount in controversy exceeds

Twenty-Five Thousand Dollars ($25,000.00); however, while Defendants deny

liability for any damages to Plaintiff whatsoever, based upon the allegations of the

Complaint that include past, present and future medical expenses, pain and suffering,

and other damages, it appears in good faith that the amount in controversy exceeds

$75,000.00 exclusive of interests and costs. See Exhibit 1, ¶19, 20.




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                                      VENUE

      13.    Venue is proper pursuant to 28 U.S.C. § 1441(a), which permits

removal of any civil action brought in the State Court of which the district courts of

the United States have original jurisdiction. The original jurisdiction of United

States District Court for the Eastern District of Michigan includes Oakland County,

Michigan, the place where this suit is currently pending.

                      NOTICE OF REMOVAL IS TIMELY

      14.    This Notice of Removal is timely filed within 30 days after Defendants

were served with a copy of the Action.

      15.    A written notice of the filing of this Notice of Removal has been given

to all parties as required by law.

      16.    A written notice of this Notice of Removal will promptly be filed with

the Oakland County Circuit Court and served upon all adverse parties.




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      WHEREFORE,         Defendants   GERALD        FELTS      and   SERVICE

ELECTRIC COMPANY respectfully request that the Action (Oakland County

Circuit Court Case No. 2022-194922-NI) now pending against them in the State of

Michigan, County of Oakland be removed to this Honorable Court.

                                          Respectfully submitted,

                                          CLARK HILL PLC

                                          By:/s/ Anthony A. Agosta
                                             Anthony A. Agosta (P57355)
                                             Ahmad C. Chamseddine (P83697)
                                             500 Woodward Avenue, Suite 3500
                                             Detroit, MI 48226
                                             (313) 965-8300 T (313) 965-8252 F
                                             Attorneys for Defendants
                                             aagosta@clarkhill.com
                                             achamseddine@clarkhill.com
Date: August 2, 2022




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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2022, a copy of the foregoing document was

served via transmission of Notices of Electronic Filing generated by CM/ECF and

by U.S. Mail on counsel of record listed below:


            ALAN L. LATHAM (P77559)
            RENEE C. GRUBER (P79422)
            Latham Law PLLC
            346 Park Street, Suite 130
            Birmingham, MI 48009

                                            Respectfully submitted,

                                            CLARK HILL PLC

                                            By:/s/ Anthony A. Agosta
                                               Anthony A. Agosta (P57355)
                                               Ahmad C. Chamseddine (P83697)
                                               500 Woodward Avenue, Suite 3500
                                               Detroit, MI 48226
                                               (313) 965-8300 T (313) 965-8252 F
                                               Attorneys for Defendants
                                               aagosta@clarkhill.com
                                               achamseddine@clarkhill.com
Date: August 2, 2022




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       EXHIBIT 1
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 25261548
Notice of Service of Process                                                                            Date Processed: 07/22/2022

Primary Contact:           Katherine Marietta
                           Quanta Services, Inc.
                           2800 Post Oak Blvd
                           Ste 2600
                           Houston, TX 77056-6175

Entity:                                       Service Electric Company
                                              Entity ID Number 2156663
Entity Served:                                Service Electric Company
Title of Action:                              Nia Tianne Reese vs. Service Electric Company
Matter Name/ID:                               Nia Tianne Reese vs. Service Electric Company (12596766)
Document(s) Type:                             Amended Complaint/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 6th Judicial Court, MI
Case/Reference No:                            2022-194922-NI
Jurisdiction Served:                          Virginia
Date Served on CSC:                           07/22/2022
Answer or Appearance Due:                     28 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Latham Law PLLC
                                              248-854-1634

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                                                        VIRGINIA - SCCFiled 08/02/22 Page 10 of 25




       Entity Information


         Entity Information

                                                          Entity Name: Service Electric Company
                                                              Entity ID: F1382847

                                                          Entity Type: Stock Corporation
                                                         Entity Status: Active
                                                        Series LLC: N/A
                                                  Reason for Status: Active and In Good Standing
                                                     Formation Date: N/A
                                                        Status Date: 09/17/2004
                                             VA Qualification Date: 06/14/1999
                                                 Period of Duration: Perpetual
                                                       Industry Code: 0 - General
                                         Annual Report Due Date: N/A
                                                           Jurisdiction: DE
                                                           Charter Fee: $50.00
                                       Registration Fee Due Date: Not Required



         Registered Agent Information

                                                               RA Type: Entity
                                                               Locality: RICHMOND CITY
                                                     RA Qualification: BUSINESS ENTITY THAT IS AUTHORIZED TO
                                                                       TRANSACT BUSINESS IN VIRGINIA
                                                           Name: CORPORATION SERVICE COMPANY
                                       Registered Office Address: 100 Shockoe Slip FI 2, Richmond, VA, 23219 -
                                                                  4100, USA



         Principal Office Address

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      USA             (https://www.facebook.com/VirginiaStateCorporationCommission)




             Principal Information



                                                                                                                                                                                                                                                                               Last
         Title                                               Director                         Name                                                    Address                                                                                                                 Updated

         Chief Executive                                      No                               Owen J. Shea Jr.                                        1631 E 25th St, Chattanooga, TN,                                                                                        06/02/2021
         Officer                                                                                                                                       37404 - 5714, USA
                                                                                                                                                                                                                    ~...~._.._.._...~..._......~...-.....,.____.~.. ....._ .,_
         Chief Financial                                      No                               Angela                                                  1631 E 25th St, Chattanooga, TN,                                                                                        06/02/2021
      Officer                                                 O'Connor                           37404 = 5714, USA
    ~._._.....__,....,........_...._..._.__._.._......~... -- ..__..___._._..._...._...._.__....~.,...-....,___.T.._..,..:..~.__.~_._._....__.~.__...___._....._.._.~.~.~.~,._____~__._._..._..,
         Secretary                                            No                               Claudia G.                                              2800 Post Oak Blvd, Ste 2600,                                                                                           06/02/2021
                                                                                               Santos                                                  Houston, TX, 77056, USA
                                                                                                                                                                                                                                                                          ,
    ._.._......._._..._....r.............-...-....,..._......._...,_.~..-..w....-»,...._.........,_...._.................... _..__...--_•. 4._,..._........__..,..~_,.,......,..._,..,.....__............»..«.....,:.._......._.._..._...._,.._...-._.M.......--w..-.........»+..,.....~-_._._~._.._.._._............;

                                                              Yes                              Gerald Albert                                           2800 Post Oak Blvd, Ste 2600,                                                                                           06/02/2021
                                                                                          ; Ducey Jr.                                              : Houston, TX, 77056, USA

                                                              Yes                              Brett A. Schrader                                       2800 Post Oak Blvd, Ste 2600,                                                                                           06/02/2021 :
                                                                                                                                                       Houston, TX, 77056, USA                                                                                            ,

         President                                            No                               Christopher C.                                          1631 E 25th St, Chattanooga, TN,                                                                                        06/28/2022 '
                                                         :                                     Froehlich                                               37404 - 5714, USA




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 •          -                                                      Original - Court                                        2nd copy - Plaintiff
     Approved, SCAO                                                1st copy - Defendant                                    3rd copy - Return
          STATE OF MICHIGAN                                                                                                    CASE NO.
                          JUDICIAL DISTRICT
6th                        JUDICIAL CIRCUIT                            SUMMONS                                 2022-194922-NI
                          COUNTY PROBATE
Court address                                                                                                                           Court telephone no.
1200 TELGRAPH ROAD, PONTIAC, MI 48340
Plaintiff's name(s), address(es), and tele                                              Defendant's name(s), address(es), and telephone no(s).
NIA TIANNE REESE                                                                        SERVICE ELECTRIC COMPANY,

                                                                              v

                                                                                            This case has been designated as an
Plaintiff's attorney, bar no., address, and telephone no.
ALAN L. LATHAM (P77559)                                                                     eFiling case, for more information please
Latham Law PLLC                                                                             visit www.oakgov.com/efiling.
346 Park Street, Suite 130
Birnungham, Michigan 48009
O: (248) 854-1634 / F: (248) 433-1989

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with your complaint and,
if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.


Domestic Relations Case
❑ There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
  family members of the person(s) who are the subject of the complaint.
❑ There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
  the family or family members of the person(s) who are the subject of the complaint. I have separately filed a completed
  confidential case inventory (form MC 21) listing those cases.
❑ It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
  the family or family members of the person(s) who are the subject of the complaint.

Civil Case
❑ This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
❑ MDHHS and a contracted health plan may have a right to recover expenses in this case. I certify that notice and a copy of
  the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).
Z There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
  complaint.
❑ A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

      been previousfy filed in ❑ this court, ❑                                                                                                Court, where

      it was given case number                                         and assigned to Judge
                                                                                                                               C,o
      The action ❑ remains ❑ is no longer pending.                                                                                ~
Summons section completed by court clerk.                              SUMMONS
                                                                                                         : O

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan y °q(la~:..y          tlfe ,~.
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a wr answer    n          with the court and
   serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
   served outside this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief




"
   demanded in the complaint.
4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
   to help you fully participate in court proceedings, please contact the court immediately to make arrangements.
          te                          Expiration date'                    Court clerk
               7/15/2022                         10/14/2022                                      Lisa Brown
'This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

Mc o1 (9/19) SUMMONS                                                                      MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
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                                                                                                                      SUMMONS
                                                   PROOF OF SERVICE                                         FCase No.2022-194922-NI
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
complete service you must retum this original and all copies to the court clerk.

                                         CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE
                  ❑ OFFICER CERTIFICATE                                       OR                ❑ AFFIDAVIT OF PROCESS SERVER
I certify that I am a sheriff, deputy sheriff, bailiff, appointed                     Being first duly sworn, I state that I am a legally competen
court officer, or attorney for a party (MCR 2.104[A][2]),                             adult, and I am not a party or an officer of a corporate
and that: (notarization not required)                                                 party (MCR 2.103[A]), and that: (notarization required)

❑ I served personally a copy of the summons and complaint,
❑ 1 served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,

together with
                 List all documents served with the summons and complaint

                                                                                                                               on the defendant(s):
              name




❑ I have personally attempted to serve the summons and complaint, togetherwith any attachments, on the following defendant(s)
  and have been unable to complete service.
Defendant's name                                    Complete address(es) of service                                            Day, date, time




I declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the
best of my information, knowledge, and belief.
Service fee           Miles traveled Fee                                          Signature
$                                    $
Incorrect address fee Miles traveled Fee               TOTAL FEE                  Name (type or print)
$                                    $                 $
                                                                                  Title
Subscribed and sworn to before me on            _                                     ,                                           County, Michigan.

My commission expires:                                               Signature:
                              Date                                                 Deputy court clerk/Notary public
Notary public, State of Michigan, County of

                                           ACKNOWLEDGMENT OF SERVICE
1 acknowledge that I have received service of the summons and complaint, together with
                                                                                                                 Attachments

                                                            ISTII
                                                                    Day, date, time

                                                                         on behalf of
Signature
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                                     STATE OF MICHIGAN

        IN THE SIXTH CIRCUIT COURT FOR THE COUNTY OF OAKLAND


NIA TIANNE REESE,                                         CASE NO. 2022-194922-NI

                       Plaintiff,                         HON. YASMINE I. POLES

-v-

GERALD FELTS, and
SERVICE ELECTRIC COMPANY,

                       Defendants.
                                        /
ALAN L. LATHAM (P77559)
RENEE C. GRUBER (P79422)
Latham Law PLLC
Attorney for Plaintiff
346 Park Street, Suite 130
Birmingham, Michigan 48009
P: (248) 854-1634 / F: (248) 433-1989
E-Mail: alatham@lathamlawgroup.com
                                        /

                               FIRST AMENDED COMPLAINT

       NOW COMES Plaintiff, NIA TIANNE REESE, and through her attorneys, LATHAM

LAW PLLC, complains against Defendants, GERALD FELTS, and SERVICE ELECTRIC

COMPANY. and for said Complaint says as follows:

                                    COMMON ALLEGATIONS

1.     Plamtiff NIA TIANNE REESE is a resident of the County of Oakland, State of Michigan,

       and was so on July 9, 2021, the date of the automobile collision, which is the subject of

       this lawsuit.

2.     Upon information and belief, Defendant Gerald Felts is a resident of the County of

       Dickson, State of Tennessee and was so on July 9, 2021.


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3.    The amount in controversy exceeds the Twenty-Five Thousand ($25,000.00) Dollar

      jurisdictional requirement of this Court (MCR 2.111, 1985 as amended), exclusive of costs,

      interest, and attorney fees and declaratory interest is sought.

4.    Upon information and belief, Defendant, SERVICE ELECTRIC COMPANY, is a Virginia

      State corporation, is a corporation licensed in the State of Virginia conducting a regular

      and systematic part of its business in Oakland County, Michigan but whose headquarters

      are located in Chattanooga, Tennessee.

5.    The actions giving rise to these damages suffered by Plaintiff and necessitating this claim

      occurred in the City of Southfield, County of Oakland, State of Michigan.

6.    That the within no-fault coverage dispute arose in the City of Southfield, County of

      Oakland, State of Michigan.

                                  STATEMENT OF FACTS

7.    Plaintiff incorporates by reference all other paragraphs in this Complaint.

8.    On or about July 9, 2021, in the County of Oakland, State of Michigan, Plaintiff was an

      occupant of a motor vehicle involved in an automobile collision and suffered accidental

      bodily injuries.

9.    On or about July 9, 2021, Plaintiff, was an innocent driver of a 2017 GMC Acadia, bearing
                    -                    .               .      •       ,   .   _ .   .L   . .. .   .

      state of Michigan license plate number JAA3304, and traveling northbound on Evergreen

      Road through intersection at Northwestern Highway with a green traffic signal, in Oakland

      County Michigan.

10.   At the aforesaid time and place, Defendant Felts was the driver of a 2019 Ford F250,

      bearing state of Tennessee license plate number 61570H2, was turning le$ from south

      Evergreen Road onto Northwestern Highway, in Oakland County, Michigan, when he



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      failed to operate vehicle in a safe manner and failed yield, causing his motor vehicle to

      collide with PlaintifF s vehicle.

11.   As a direct and proximate result of one, several, or all of the acts, omissions or failures to

      act on part of Defendant(s) as alleged herein, Plaintiff(s) suffered the injuries and damages

      set forth herein; and Plaintiff has been, and still is, undergoing continued diagnosis and

      treatment by medical professionals for the injuries they sustained as a result of the subject

      motor vehicle collision.

      relief.

                                               COUNTI
                                          NEGLIGENCE- FELTS

12.   Plaintiff incorporates by reference all other paragraphs in this Complaint.

13.   At all relevant times, Defendant Service Electric Company was the sole owner of the 2019

      Ford F250, bearing state of Tennessee license plate number 61570H2, which he was

      driving when this collision occurred.

14.   At the aforesaid time and place, Defendant Felts, failed to operate vehicle in a safe manner

      and failed to yield, causing his motor vehicle to collide with Plaintiff's vehicle, thereby

      causing the collision and is guilty of negligence, pursuant to MCLA 257.402.

15.   Defendant Felts owed the following duties of care to the public and Plaintiff, including but

      not necessarily limited to:

          a. Drive with due care, caution, and circumspection in such a manner as not to

                endanger the safety, health, life, and properry, of the public and Plaintiff;

          b. To operate the vehicle on the roadway in a manner and at a rate of speed not greater

                than that which will permit it to be stopped within an assured, safe, and clear

                distance, MCLA 257.627;

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        c. Not to drive the vehicle recklessly and with willful and/or wanton disregard for the

            safety and rights of others, MCLA 257.626;

        d. Not to drive in a careless or negligent manner to endanger or be likely to endanger

            others, MCLA 257.626b;

        e. Not to drive the vehicle as to be following Plaintiff 's vehicle more closely than is

            reasonable and prudent, and having due regard for the speed of vehicles and the

            traffic upon, and the condition of the roadway, MCLA 257.643;

        f   To keep the automobile constantly under control;

        g. To attempt to stop the vehicle when Defendant knew or should have known that

            failure to do so would naturally and probably result       in   serious bodily and/or

            emotional injuries to Plaintiff(s);

        h. To accord traffic on the through street the right of way;

        i. To have the motor vehicle he was driving equipped with brakes adequate to contrbl

            the movement of, and to stop and hold such vehicle, including two separate mearis

            of applying the brakes, each of which means shall be effective to apply the brakes

            to at least two wheels, in compliance with, inter alia, MCLA 257.705;

        j. To properly use the available brakes the motor vehicle was equipped with;

        k. To observe the highway in front of Defendant Felts's vehicle when Defendant

            knew or should have known that failure to observe Plaintiffs slowing vehicle, as a

            result of an emergency vehicle siren or merging traffic, would endanger the life or

            property of other persons using the roadway;




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         1.   To come to a full stop before entering or crossing a roadway from an alley, private

              road, or driveway and to yield right of way to vehicles approaching on the roadway,

              specifically the Plaintiff's vehicle, inter alia, MCLA 257.652;

         m. Such other wrongful acts and/or omissions as are presently unknown, but which

              may become known through the course of discovery and/or trial herein.

16.   As a direct and proximate result of Defendant's negligence and including but not limited

      to the breach of these duties, the collision occurred and the injuries stated in this complaint

      resulted.

17.   Prior to the incident, which forms the basis of this action, Plaintiff was reasonably strong

      and healthy persons and because of her injuries proximately caused by the negligent and/or

      otherwise improper acts and/or omissions of Defendant as set forth herein, Plaintiff

      suffered grievous and serious impairment of body function.

18.   As a direct and proximate result of Defendant's negligence, Plaintiff suffered serious

      injuries and may suffer future or permanent mental anguish, pain and suffering, injuries,

      and limitations, including serious impairment of body function(s) and/or permanent serious

      disfigurement, and aggravation of any preexisting conditions, if any, and the sequelae

      thereof.    -

19.   Plaintiff damages include, but are not limited to, the following injuries:-

         a. Closed-head injuries that are considered serious neurological injuries in compliance

              with MCLA 500.3135(2)(a)(ii);

         b. Neck injuries and pain;

         c. Back Injuries and pain;

          d. Abdomen injuries and pain;



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        e. Spinal injuries;

        f. Chest injuries and pain

        g. Left Shoulder Injuries and pain;

        h. Left arm pit injuries and pain;

        i. Right arm injuries and pain;

        j. Left elbow injuries and pain

        k. Left wrist injuries and pain

        1. Left hand and fingers injuries and pain

        m. Serious injuries to her back, neck, and other parts of her body as well as other

            related and appreciable difficulties, injuries, or consequences that have occurred,

            developed, or aggravated any preexisting problem;

        n. Post traumatic stress disorder, post traumatic depression, anxiety, irritableness

            and/or any other disturbance in Plaintiff's mental functioning;

        o. Sleep disorder(s) and/or difficulty sleeping;

        p. Sever shock, as well as physical pain and suffering as a result of being whipped

            around in the interior of the motor vehicle upon impact;

        q. , Severe injury., and trauma to the neck, which has resulted in Musculoskeletal neck

            pain;

         r. Loss of life's pleasures, and loss of the ability to participate in the usual activities

             of life which she had indulged in prior to the incidents which form the basis of this

             action;




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         s. Extreme physical pain, suffering, mortification, embarrassment, humiliation,

             mental and emotional anxiety/anguish/distress, and other injuries/damages to her

             mental and/or physical well—being;

         t. Extensive medical treatment, including hospitalization, physical therapy, medical

             therapy, medical testing, and doctor visits;

         u. Wage loss or actual future loss of earnings to the extent that such losses are

             recoverable in excess of the no-fault statutory monthly and yearly maximums that

             are found to apply to the cause;

         v. Loss of peace of mind and financial security;

         w. Such other and further damages, injuries, and the sequelae thereof, which are

             presently unknown, undiagnosed, and or/which may become apparent and/or

             develop in the future.

20.   As a direct and proximate result of one, several or all of said acts, omissions or failure to

      act on the part of Defendant Felts as herein alleged, Plaintiff suffered other damages

      including but not limited to past, present, and/or future:

         a. Loss of wages and/or diminution of earning capacity to the extent that such losses

             are in excess of the Michigan No-Fault statute's monthly and yearly maximums

             and/or beyond the period covered by the Michigan No-Fault statute; as applicable

             to Plaintiff, and/or in excess of any amounts paid, payable or required to be

             provided under the laws of any state or federal government or other entity

             applicable to Plaintiff;

         b. Medical, hospital, surgical, ambulance, and related expenses to the extent that such

              losses are not covered by Plaintiff's medical and/or Michigan No-Fault and/or other



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             insurer(s), and/or in excess of any amounts paid, payable or required to be provided

             under the laws of any state or federal government or other entity as applicable to

             Plaintiff;

         c. Insurance deductibles and/or co-pays to the extent that such losses are not covered

             by Plaintiff's medical and/or Michigan No-Fault and/or other insurer(s), and/or in

             excess of any amounts paid, payable or required to be provided under the laws of

             any state or federal government or o,ther entity as applicable to, Plaintiff;

         d. Loss of insurability, benefits of insurance plans and/or policies, and/or increased

             insurance premiums;

         e. Other economic losses to the extent that such losses are not covered by Plaintiff's

             medical and/or Michigan No-Fault and/or other insurer(s), and/or in excess of any

             amounts paid, payable or required to be provided under the laws of,any state or

             federal government or other entity as applicable to Plaintiff;

         f. Such other and further damages as may be ascertained during the course of

             discovery and/or trial herein, to the extent that such losses are not covered by

             Plaintiff's medical and/or Michigan No-Fault and/or other insurer(s), and/or in

             excess of any amounts paid, payable or required to be provided under the laws of

             any state or federal government or other entity as applicable to Plaintiff;

     PLAINTIFF(S) REQUEST(S) that this court award damages against Defendant(s) in

     whatever amount he is found to be entitled in excess of $25,000, plus interest, costs, and

      actual attorney fees.




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                                      COUNT II
                               NEGLIGENT ENTRUSTMENT


2.     Plaintiff incorporates by reference all other paragraphs in this Complaint.

3.     Defendant Service Electric Company was the owner of the motor vehicle driven by

       Defendant Felts at the time of the collision.

4.     Defendant Service Electric Company owed a duty to the Plaintiff not to negligently allow

       its vehicle to be operated by Defendant Felts without due care and caution and not to allow

       the vehicle to be operated in such a manner as to endanger Plaintiff health, life, and property

       and in violation of the motor vehicle codes of the State of Michigan and the rules of

       common law.

5.     Defendant Service Electric Company allowed the motor vehicle to be entrusted to

       Defendant Felts with its express or implied consent or knowledge.

6.     Contrary to the duties owed to Plaintiff, Defendant Service Electric Company negligently

       breached these duties by allowing its vehicle to be operated by a person whom it knew or

       should have known would operate the vehicle in a careless, reckless, or incompetent

       manner, in violation of the motor vehicle codes of the State of Michigan and the rules of

       common law.

7.     As a result of Defendant Service Electric Company's negligent entrustment of the motor

       vehicle to Defendant Felts, Defendant Service Electric Company was negligent as set forth

       in Count I, causing the injuries that occurred.

       PLAINTIFF(S) REQUEST(S) that this court award damages against Defendant(s), in

whatever amount they are found to be entitled in excess of $25,000, plus interest, costs, and actual

attorney fees.


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                                      . COUNT III
                                    OWNER'S LIABILITY

8.     Plaintiff incorporates by reference all other paragraphs in this Complaint. .

9.     At all times pertinent hereto, the vehicle being operated by Defendant Felts; was being

       operated with the express and/or implied permission and consent of the vehicle's owner,

       Defendant Service Electric Company, as a result Defendant Service Electric Company, is

       liable to Plaintiff(s) due to the negligent operation of said vehicle by Defendant Felts,

       pursuant to Michigan's Owner Liability Statute, MCL 357:401 et.,seq.

10.    As a direct and proximate result of the negligence of Defendant Felts and therefore,

       Defendant Service Electric Company, Plaintiff did suffer and will continue to suffer

       serious impairment of bodily functions, permanent serious disfigurement, grievous

       permanent injuries and permanent disabilities and damages as set forth in Count I.

       PLAINTIFF(S) REQUEST(S) that this court award damages against Defendant(s), in

whatever amount they are found to be entitled in excess of $25,000, plus interest, costs, and actual

attorney fees.




                                                     Respectfully submitted,

                                                     LATHAM LAW PLLC

                                                     By:       /s/ Alan L. Latham
DATED: July 15, 2022                                           ALAN L. LATHAM (P77559)
                                                               Attorneys for Plaintiff




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                                    STATE OF MICHIGAN

         IN THE SIXTH CIRCUIT COURT FOR THE COUNTY OF OAKLAND


NIA TIANNE REESE,                                        CASE NO.                     NI

                      Plaintiff,                         HON.

-v-

GERALD FELTS,

                    ; Defendarit:

ALAN L. LATHAM (P77559)
RENEE C. GRUBER (P79422)
Latham Law PLLC
Attorney for Plaintiff
346 Park Street, Suite 130
Birmingham, Michigan 48009
P: (248) 854-1634 / F: (248) 433-1989
E-Mail: alatham@lathamlawgroup.com
                                      /

                              DEMAND FOR TRIAL BY JURY

       NOW COMES the Plaintiff, NIA TIANNE REESE, by and through his attorney,

LATHAM LAW PLLC, and hereby demands a trial by jury of all issues as they relate to the above

captioned cause of action.

                                                  Respectfully submitted,

                                                  LATHAM LAW PLLC

                                                  By:    /s/ Alan L. Latham
DATED: July 15, 2022                              ALAN L. LATHAM (P77559)
                                                  Attorneys for Plaintiff




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